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                                 Slip Op. 21-150

          UNITED STATES COURT OF INTERNATIONAL TRADE



THE DIAMOND SAWBLADES
MANUFACTURERS’ COALITION,

       Plaintiff,

v.
                                             Before: Claire R. Kelly, Judge
UNITED STATES,
                                             Court No. 17-00167
       Defendant,

and

BOSUN TOOLS CO., LTD.,

       Defendant-Intervenor.

                                    OPINION

[Sustaining the U.S. Department of Commerce’s second Final Remand
Redetermination in its sixth annual review of the antidumping duty order on
diamond sawblades and parts thereof from the People’s Republic of China.]

                                                           Dated: October 27, 2021

Daniel B. Pickard, Maureen E. Thorson, and Stephanie M. Bell, Wiley Rein LLP, of
Washington, DC, argued for plaintiff Diamond Sawblades Manufacturers’ Coalition.

John J. Todor, Senior Trial Counsel, Commercial Litigation Branch, Civil Division,
U.S. Department of Justice, argued for defendant United States. Of counsel was Paul
K. Keith, Attorney, Office of the Chief Counsel for Trade Enforcement and
Compliance, U.S. Department of Commerce of Washington, DC.

Gregory S. Menegaz, J. Kevin Horgan, and Alexandra H. Salzman, deKieffer &
Horgan, PLLC of Washington, DC argued for defendant-intervenor Bosun Tools Co.,
Ltd.
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      Kelly, Judge:    Before the court is the U.S. Department of Commerce’s

(“Commerce”) remand redetermination filed pursuant to the court’s order for further

proceedings in accordance with Diamond Sawblades Mfrs.’ Coal. v. United States, 986

F.3d 1351 (Fed. Cir. 2021); Final Remand Redetermination, Diamond Sawblades

Mfrs.’ Coal. v. United States, Ct. No. 17-00167, Appeal No. 20-1478, July 13, 2021,

ECF No. 74-1 (“Second Final Remand Redetermination”); see Order, Mar. 25, 2021,

ECF No. 71; see also Diamond Sawblades, 986 F.3d 1351. In its opinion, the U.S.

Court of Appeals for the Federal Circuit (“Court of Appeals”) instructed Commerce to

reconsider its application of facts otherwise available with an adverse inference

(“AFA”) 1 to sales of which the country-of-origin information was determined using

the product code or unit price. Diamond Sawblades, 986 F.3d at 1367. Defendant-

intervenor Bosun Tools Co., Ltd. (“Bosun”) challenges Commerce’s remand

redetermination as not supported by substantial evidence and contrary to law and

requests that the court remand the case. See Def.-Intervenor [Bosun]’s Comments

on Second Remand Redetermination, Aug. 12, 2021, ECF No. 78 (“Bosun’s Second

Remand Comments”). Defendant United States and Plaintiff Diamond Sawblades




1 Parties and Commerce sometimes use the shorthand “adverse facts available” or
“AFA” to refer to Commerce’s reliance on facts otherwise available with an adverse
inference to reach a final determination. However, AFA encompasses a two-part
inquiry pursuant to which Commerce must first identify why it needs to rely on facts
otherwise available, and second, explain how a party failed to cooperate to the best of
its ability as to warrant the use of an adverse inference when “selecting among the
facts otherwise available.” See Tariff Act of 1930, as amended, § 776, 19 U.S.C.
§ 1677e(a)–(b) (2018).
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Manufacturers’ Coalition (“DSMC”) request that the court uphold the Second Final

Remand Redetermination in its entirety. Pl. [DSMC]’s Revised Resp. to [Bosun’s

Second Remand Comments] (Confidential Version), Sept. 13, 2021, ECF No. 81

(“DSMC Resp.”); Def.’s Resp. to Comments on Remand Results, Sept. 13, 2021, ECF

No. 79 (“Def.’s Resp.”). For the following reasons, the court sustains Commerce’s

Second Final Remand Redetermination.

                                   BACKGROUND

      In 2006 Commerce issued an antidumping duty order covering “diamond

sawblades and parts thereof” (“sawblades”) imported from the People’s Republic of

China (“China”). Diamond Sawblades and Parts Thereof from [China], 71 Fed. Reg.

29,303 (Dep’t Com. May 22, 2006) (final deter. of sales at less than fair value and final

partial affirmative deter. of critical circumstances). On April 27, 2016, Commerce

selected Bosun, a Chinese exporter and producer of sawblades, for individual

investigation during the sixth annual administrative review.           Selection of an

Additional Respondent for Individual Examination in the 2014-2015 Antidumping

Duty Admin. Rev. at 1–2, PD 166, CD 117, Doc. No. 3463908-01 (Apr. 27, 2016).

Sawblades produced by Bosun are sent to Bosun Tools, Inc., one of two of its U.S.

importer-affiliates.   Letter from deKieffer & Horgan, PLLC to Sec’y Com., re:

Diamond Sawblades from [China] – Sections C & D Questionnaire Resp. at C-1, P.R.

207-210, C.R. 132-143, Doc. No. 3483626-01 (July 1, 2016) (“2016 Questionnaire

Resp.”); Second Final Remand Redetermination at 2.           Bosun’s second importer-
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affiliate, Pioneer Tools Inc. imports sawblades from Thailand not covered by the

antidumping order.     2016 Questionnaire Resp. at C-1–2; Second Final Remand

Redetermination at 2. Bosun’s importer-affiliates sold sawblades to one another.

2016 Questionnaire Resp. at C-1–2.

      To calculate Bosun’s antidumping margin, Commerce needed to identify the

origin of the sawblades sold by the importer-affiliates, information that neither Bosun

nor its importer-affiliates recorded. Second Final Remand Redetermination at 2; see

2016 Questionnaire Resp. at C-1–3. Bosun attempted to collect country-of-origin

information using three methods: (1) identifying the product code, which in some

cases was specific to the country of origin; (2) identifying the unit price; and (3)

making an inference that importer-affiliates generally sold product using a first-in,

first-out (“FIFO”) method. 2016 Questionnaire Resp. at C-2–3; Second Final Remand

Redetermination at 2. Commerce determined that the information provided by Bosun

was reliable despite a discrepancy 2 uncovered during the verification of the FIFO

methodology and assigned Bosun a weighted average dumping margin of 6.19

percent. Verification of the U.S. Sales Resp. of [Bosun] at 10–11, PD 383, CD 365,

Doc. No. 3573591-01 (May 17, 2017) (“Verification Report”); Diamond Sawblades and

Parts Thereof from [China], 82 Fed. Reg. 26,912, 26,912 (Dep’t Com. June 6, 2017)

(final results of antidumping duty admin. rev.; 2014-2015) (“Final Results”) and



2Bosun’s FIFO methodology reported smaller quantities of subject merchandise than
the original quantities invoiced for two of the on-site selected sales traces.
Verification Report at 10.
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accompanying Issues and Decision Memo. at 25–27, Doc. No. 3578943-01 (June 6,

2017) (“Final Decision Memo.”); see Second Final Remand Redetermination at 2.

      The domestic-industry DSMC challenged inter alia, Commerce’s decision not

to use AFA before this court. 3 [DSMC’s] Memo. in Supp. of Rule 56.2 Mot. for J. on

Agency R., Dec. 5, 2017, ECF No. 28; see Diamond Sawblades Mfrs.’ Coal. v. United

States, 42 CIT __ , Slip op. 18-146 (Oct. 23, 2018) (“Slip Op. 18-146”). This court

concluded Commerce’s determination was at odds with the Court of Appeals’

precedent regarding the “best of its ability” standard and remanded for clarification

or reconsideration. Slip Op. 18-146 at 7–14. Commerce issued the Final Remand

Redetermination on April 17, 2019, using AFA for all of Bosun’s sales of sawblades

during the review period due to the unreliability of the FIFO methodology. Final

Remand Redetermination [Slip Op. 18-146], Apr. 17, 2019, ECF No. 43-1 (“First

Remand Redetermination”). Bosun challenged the redetermination before this court,

which affirmed Commerce’s determination.        Diamond Sawblades Mfrs.’ Coal. v.

United States, 43 CIT __, __, 415 F. Supp.3d 1365 (2019). Bosun appealed to the

Court of Appeals. Diamond Sawblades, 986 F.3d at 1351.

      On appeal, Bosun challenged Commerce’s decision to disregard all the origin

data Bosun provided and the application of facts otherwise available, as unsupported




3 This court remanded the case for clarification or reconsideration of Commerce’s
decision not to use AFA, Slip Op. 18-146 at 18, the use of the Thai surrogate data, id.
at 24–25, and its determination of the dumping margin for the separate rate. Id. at
26.
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by substantial evidence. 4 Id. at 1362. The Court of Appeals determined that it was

unclear whether country-of-origin information obtained for sales using the product

code or unit price was unreliable, and therefore, the decision to disregard all of the

country-of-origin information was unsupported by substantial evidence. Id. at 1366.

The Court of Appeals remanded to determine whether substantial evidence existed

to support a finding that the country-of-origin information determined using the

product code or unit price was unreliable. Id. at 1367. If Commerce determined that

there was no basis for the application of facts otherwise available to sales other than

the sales where the country of origin was determined using the FIFO methodology

(“FIFO Sales”), the Court of Appeals instructed Commerce to redetermine how

adverse inferences applied to the matter.      Id.   On March 25, 2021, this court

remanded the case to Commerce for proceedings consistent with the Court of Appeals’

opinion in Diamond Sawblades. Order, Mar. 25, 2021, ECF No.71.

      On July 13, 2021, Commerce filed its Second Final Remand Redetermination.

Second Final Remand Redetermination.          On August 12, 2021, Bosun filed its

comments on the Second Final Remand Redetermination. Bosun’s Second Remand

Comments. DSMC filed its comments on September 14, 2021. DSMC Resp.




4Bosun also challenged this court’s initial decision to remand to Commerce for abuse
of discretion. Diamond Sawblades, 986 F.3d at 1361. The Court of Appeals reviewed
this court’s initial remand decision and found no abuse of discretion or material legal
error. Id.
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                JURISDICTION AND STANDARD OF REVIEW

      This court has jurisdiction pursuant to section 516A(a)(2)(B)(iii) of the Tariff

Act of 1930, as amended, 19 U.S.C. § 1516a(a)(2)(B)(iii) 5 and 28 U.S.C. § 1581(c)

(2018), which grant the court authority to review actions contesting the final

determination in an administrative review of an antidumping duty order. The court

will uphold Commerce’s determination unless it is “unsupported by substantial

evidence on the record, or otherwise not in accordance with law.”          19 U.S.C.

§ 1516a(b)(1)(B)(i). “The results of a redetermination pursuant to court remand are

also reviewed ‘for compliance with the court’s remand order.’” Xinjiamei Furniture

(Zhangzhou) Co. v. United States, 38 CIT __, __, 968 F. Supp. 2d 1255, 1259 (2014)

(quoting Nakornthai Strip Mill Public Co. v. United States, 32 CIT 1272, 1274 (2008)).

                                   DISCUSSION

      Commerce reviewed its application of AFA to the country-of-origin information

supplied by Bosun.    Second Final Remand Redetermination at 4–5.          Commerce

determined that there were no reliability issues with the country-of-origin

information derived from methods using the product code or unit price and did not

select from the facts otherwise available for sales using those methodologies. Id. at

4. Commerce continued to find the FIFO methodology unreliable and determined

that resorting to AFA remained warranted for the FIFO Sales. Id. at 4–5. Bosun




5 Further citations to the Tariff Act of 1930, as amended, are to the relevant
provisions of Title 19 of the U.S. Code, 2018 edition.
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challenges the application of adverse inferences to the FIFO Sales arguing that

Commerce should apply neutral facts instead. Bosun’s Second Remand Comments

at 8–12. In the alternative, Bosun argues that if AFA is applied, the scope of its

application should be limited to the missing country-of-origin information for the

FIFO Sales. Id. at 12–15. Bosun also challenges the inclusion of intracompany sales

in Commerce’s calculations.    Id. at 5–8. Finally, the court reviews Commerce’s

decision to use the Thai surrogate value for valuing copper powder and copper iron

clab for compliance with this court’s previous remand order. Second Final Remand

Redetermination at 7–11; Slip Op. 18-146 at 24–26.

I.    The Application of Facts Available with Adverse Inferences

      Commerce continued to apply AFA to the FIFO sales in the Second Final

Remand Redetermination. Second Final Remand Redetermination at 17–18. Bosun

challenges Commerce’s continued use of adverse inferences to the FIFO Sales, the

application of adverse inferences to the sale prices of the FIFO Sales, and the

inclusion of what it claims are intracompany sales in the FIFO Sales to which the

adverse inferences apply. Bosun’s Second Remand Comments at 5–15. For the

following reasons, the court sustains Commerce’s use of adverse inferences and the

inclusion of the alleged intracompany sales.

      A. Adverse Inferences

      Bosun argues that Commerce should apply neutral facts available to the FIFO

Sales because Bosun cooperated to the best of its ability. Bosun’s Second Remand
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Comments at 8–12.        Defendant and DSMC respond that Commerce correctly

concluded that Bosun failed to cooperate to the best of its ability by failing to maintain

full and complete country-of-origin records. Def.’s Resp. at 15; DSMC Resp. at 9–12.

      If necessary information is not available on the record, Commerce shall use

facts otherwise available and may use an adverse inference if it determines that the

respondent failed to cooperate to the best of its ability. 6 19 U.S.C. § 1677e. If an

interested party submits information that does not fully comply with all

requirements, Commerce must consider whether the interested party cooperated to

the best of its ability. See id. § 1677m(e)(4). An interested party cooperates to the

best of its ability when it does “the maximum it is able to do.” Nippon Steel Corp. v.

United States, 337 F.3d 1373, 1382 (Fed. Cir. 2003). Decisions by Commerce must

be supported by substantial evidence. 19 U.S.C.S. § 1516a(b)(1)(B)(i). "Substantial

evidence is more than a mere scintilla. It means such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion." Consol. Edison

Co. v. NLRB, 305 U.S. 197, 229 (1938).

      Upon review, Commerce determined that it would no longer use facts

otherwise available for country-of-origin information obtained using the product code

or unit price methodologies. Second Final Remand Redetermination at 4. However,

Commerce affirmed the use of facts otherwise available regarding the FIFO Sales



6 Adverse inferences may be “derived from the petition, a final determination in the
investigation, . . . any previous review . . . or determination, . . . or any other
information placed in the record.” 19 U.S.C. § 1677e(b)(2).
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because it found that Bosun “failed to maintain full and complete records regarding

country of origin, despite its apparent ability to do so . . . and awareness of the need

for distinguishing the country of origin of its merchandise for export.” Id. at 5.

Commerce maintained that the country-of-origin information gathered using the

FIFO methodology was unreliable and that Bosun failed to cooperate to the best of

its ability.   Id. at 4–6; see also First Remand Redetermination at 10; Diamond

Sawblades, 986 F.3d at 1360. Thus, Commerce applied an adverse inference in

connection with the FIFO Sales. Second Final Remand Redetermination at 5–6.

       Commerce’s determination is supported by substantial evidence. The Court of

Appeals left undisturbed this court’s decision sustaining Commerce’s prior

determination regarding Bosun’s FIFO Sales. See Diamond Sawblades, 986 F.3d at

1364, 1367. In that decision, and as Commerce continues to find here, although the

best of its ability standard does not require perfection, the standard compels

respondents to take reasonable steps to keep and maintain complete records that they

would reasonably be required to produce in an antidumping investigation. Id. at

1366–1367; Second Final Remand Redetermination at 5, 17–18; see Nippon Steel

Corp., 337 F.3d at 1382–1384. It is reasonable for Commerce to expect that an

exporter would maintain country of origin records. Slip Op. 18-146 at 11; see Second

Final Remand Redetermination at 18. Since Bosun failed to maintain such records,

the maximum it could do, Bosun attempted to fill the informational gap, using inter

alia, the FIFO methodology. Second Final Remand Redetermination at 2. However,
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during verification of the FIFO Sales Commerce identified issues related to the

reliability of the information reported. Verification Report at 10–11. As a result,

Commerce could not verify that the country-of-origin information was correct for the

FIFO Sales and the informational gap persisted.            See Second Final Remand

Redetermination at 5. Seeking to fill that gap, Commerce reasonably used AFA

because the gap is a direct result of Bosun’s failure to maintain adequate records and

no other information existed on the record to fill the gap. 7

      It is reasonably discernable that Commerce found Bosun’s arguments that

Commerce overlooked that Bosun relocated its main manufacturing operations for

exports to Thailand, was no longer a top tier Chinese exporter of subject goods, and

did not have reason to contemplate sales from multiple origins during prior reviews

unpersuasive. See Second Final Remand Redetermination at 17–18; see also Bosun’s

Second Remand Comments at 10. Commerce continued to find that Bosun should

have been familiar with Commerce’s review proceedings and aware that it would need



7 Bosun argues that it did not maintain country of origin records for the sawblades
because its unaffiliated U.S. customers do not care about the origin of the sawblades.
Bosun’s Second Remand Comments at 9–10. It is reasonably discernable that
Commerce determined Bosun’s unaffiliated U.S. customers lack of concern regarding
origin is irrelevant. Commerce explained that the Court of Appeals upheld its use of
AFA for the FIFO Sales. Second Final Remand Redetermination at 5–6. Commerce
continued by relying on precedent from the Court of Appeals explaining that
exporters are required to take reasonable steps to maintain information that is likely
to be asked for if reviewed. Id. at 18. An exporter has not complied with the best of
its ability standard if the information missing is due to inadequate recordkeeping.
Id. On remand, Commerce continued to find that Bosun failed to cooperate to the
best of its ability because it failed to maintain country of origin records. Id. at 5, 17–
18.
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to distinguish country-of-origin information because Bosun was a mandatory

respondent in the original investigation and two reviews.8 Second Final Remand

Redetermination at 5; see also First Remand Redetermination at 4, 21–22; Slip Op.

18-146 at 9. Commerce’s determination is reasonable.

      B. The Scope of the Adverse Inferences

      In addition to the application of the AFA rate to the FIFO Sales listed in the

U.S. sales database, Commerce also applied a per unit AFA rate to all of the FIFO

Sales not listed in the U.S. sales database. 9 Second Final Remand Redetermination

at 6. Bosun argues that Commerce unlawfully applied an adverse inference when it

disregarded the prices of the FIFO Sales reported in the U.S. sales database and

applied an AFA rate of 82.05 percent to all the FIFO Sales of Chinese origin. 10




8 Bosun was not initially called as a mandatory respondent, instead it requested
review. See Letter from deKieffer & Horgan to Sec’y Com., re: Diamond Sawblades
from [China] – Request for Admin. Rev., 2014 2015 Doc. No. 3420991-01 (Nov. 30,
2015).
9 Bosun’s FIFO methodology divided sawblades into Chinese or Thai sawblades. See

Second Final Remand Redetermination at 2. Sawblades that were labeled Thai were
excluded from the U.S. sales database. See id. at 6. Given the reliability issues with
the FIFO method, Commerce reasonably considered all the FIFO Sales Chinese and
therefore subject merchandise. Id. at 6–7.
10 A dumping margin calculation compares the price at which the subject merchandise

is sold in the United States with the subject merchandise’s normal value. See 19
U.S.C. § 1675 (a)(2). For a nonmarket economy (“NME”), like China, Commerce
begins its review with the rebuttable presumption that all companies within that
country are subject to government control and should be assessed a single
antidumping duty rate. See Sigma Corp. v. United States, 117 F.3d 1401, 1405-06
(Fed. Cir. 1997) (approving Commerce’s application of a presumption of government

                                                                  (footnote continued)
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Bosun’s Second Remand Comments at 12–15. Defendant and DSMC argue that

Commerce correctly applied the AFA rate to all the FIFO Sales because the lack of

reliable country-of-origin information obscures both the country of origin and the

price of the sales. Def.’s Resp. at 20–22; DSMC Resp. at 12–15. For the reasons that

follow, Commerce’s decision to apply the AFA rate to all the FIFO Sales is reasonable.

      On remand, Commerce issued a supplemental questionnaire requesting that

Bosun identify which of the sales within the U.S. sales database were determined to

be of Chinese origin using the FIFO method and Bosun responded. Second Final

Remand Redetermination at 6; Diamond Sawblades from [China] Supplemental

Questionnaire for Remand, Doc. No. 4110206-01 (Apr. 12, 2021); Letter from

deKieffer & Horgan, PLLC to Sec’y Com., re: Diamond Sawblades from [China] –

Remand Supplemental Questionnaire, CD 2nd REM 2, PD 2nd REM 2-4, (Apr. 19,

2021) (“Second Supplemental Questionnaire Resp.”). Using the information in the

supplemental questionnaire response and the sequence numbers in the U.S. sales

database, Commerce identified all the FIFO Sales of Chinese origin in the U.S. sales




control). However, if a company can establish de jure and de facto independence from
the government, Commerce assigns it a separate rate. Sparklers from [China], 56
Fed. Reg. 20,588, 20,589, (Dep't Com. 1991) (final deter.); see Sigma Corp, 117 F.3d
at 1405–1407. Here, Commerce has determined that the China-wide rate is 82.05
percent, which it applied in place of the FIFO Sales data provided by Bosun. Second
Final Remand Redetermination at 22; see Diamond Sawblades and Parts Thereof
from [China]: Notice of Court Decision Not in Harmony With the Final Results of Rev.
and Amended Final Results of the Antidumping Duty Admin. Rev., 81 Fed. Reg.
36,261, 36,262 (Dep’t Com. June 6, 2016) (establishing that that the China-wide rate
is 82.05 percent).
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database and applied an AFA rate of 82.05 percent.           Second Final Remand

Redetermination at 6; Letter from Thomas Schauer, Senior Int’l Trade Compliance

Analyst, AD/CVD Operations, Office I, re: Diamond Sawblades and Parts Thereof

from [China]: Final Remand Results Calculation Memo. for [Bosun] at 3, Doc. No.

4143355 (July 13, 2021). Commerce also calculated a per-unit amount AFA rate and

applied it to all FIFO Sales not listed in the U.S. sales database. Second Final

Remand Redetermination at 6.

      Bosun argues Commerce should apply an adverse inference that all FIFO Sales

are of Chinese origin, but that it should not disregard the U.S. sales price data

previously submitted in connection with sales identified as Chinese sales. Bosun’s

Second Remand Comments at 12–13. Relying on this court’s decision in Dillinger

France S.A. v. United States, 350 F. Supp.3d 1348 (Ct. Int’l Trade 2018), Bosun

argues that “Commerce cannot use adverse inferences to substitute information that

is on the record.” Id. at 14.

      Bosun’s argument assumes that all the FIFO Sales that it claimed were

Chinese and placed in the U.S. sales database are Chinese sales.           However,

Commerce determined that the FIFO methodology did not yield reliable country-of-

origin information. Second Final Remand Redetermination at 5. In light of the

identified reliability issues, Commerce reasonably concluded it could not be certain

that the FIFO Sales included in the U.S. sales database were Chinese, nor could it be

certain that all of the FIFO Sales excluded from the U.S. sales database were Thai.
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See id. at 21. In response to Bosun’s argument that Commerce should determine that

all FIFO Sales were Chinese, see Bosun’s Second Remand Comments at 13,

Commerce explained that Bosun’s proposed application of adverse inferences would

not lead to an accurate margin calculation because there was a possibility that the

margin calculation could involve sales of Thai sawblades. Second Final Remand

Redetermination at 21–22. Commerce explains that although Bosun correctly states

that the information missing from the record is the country-of-origin for the FIFO

Sales, that information is critical to the determination of whether a sale is properly

included or excluded in the U.S. sales database.             Second Final Remand

Redetermination at 21. Thus, Commerce reasonably concludes that the inability to

reliably identify the country of origin for the FIFO Sales means that the

corresponding price data in the U.S. sales database is also unreliable because

Commerce cannot accurately pair price data with the correct country of origin.

Second Final Remand Redetermination at 21–22.          Consequently, the U.S. sales

database information is missing. Id. Since the information is missing from the

record, Commerce filled the gap with facts otherwise available.         Id. at 17–18.

Because Commerce determined that Bosun failed to cooperate to the best of its ability,

Commerce reasonably used adverse inferences when filling the gap. Id.

      C. Intracompany Sales

      In the Second Final Remand Redetermination Commerce calculated an AFA

per unit rate and applied it to all the FIFO Sales, some of which Bosun claims are
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intracompany sales. Second Final Remand Redetermination at 13–15. Bosun argues

that Commerce’s decision not to remove intracompany sales data from the FIFO Sales

renders its determination contrary to law and unsupported by substantial evidence.

See Bosun’s Second Remand Comments at 5–8. As a threshold matter, the Court of

Appeals did not instruct Commerce to revisit its FIFO analysis.        See Diamond

Sawblades, 986 F.3d at 1367. Although Bosun argues that Commerce has acted

contrary to law by ignoring evidence of intracompany sales, it is reasonably

discernable that Commerce did not ignore the evidence, but rather found that it was

not within the scope of the Court of Appeals’ instructions 11 and further would not be

relevant as it was unverifiable. Second Final Remand Redetermination at 13–15.

Consequently, Bosun’s substantial evidence argument also fails because Commerce

has addressed that which detracts from its determination. 12 Universal Camera Corp.




11 Commerce explains that the Court of Appeals upheld its decision to use AFA for
the FIFO Sales and instructed Commerce to reconsider its application of AFA to the
sales where country-of-origin information was determined using product code or unit
price. Second Final Remand Redetermination at 13–14.
12 Bosun responded to Commerce’s second supplemental questionnaire stating it

could not identify all the sequence numbers requested because a portion of those sales
were sales between importer-affiliates. Second Supplemental Questionnaire Resp. at
1–2. Bosun argues that Commerce should issue an additional supplemental
questionnaire requesting that Bosun identify the number of pieces in the
intracompany sales transactions so they can be removed from Commerce’s margin
calculations. Comments on Draft Results of Second Redetermination Pursuant to
Court Remand at 9, Doc. No. 4126821 (June 1, 2021). Bosun’s argument that
Commerce could or should issue a supplemental questionnaire does nothing to
undermine the reasonableness of Commerce’s determination based on the record
evidence and in light of the Court of Appeals’ decision.
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v. NLRB, 340 U.S. 474, 488 (1951) (“The substantiality of evidence must take into

account whatever in the record fairly detracts from its weight.").

II.   Surrogate Country Selection

      Finally, the court reviews Commerce’s decision to use Thai average unit value

(“AUV”) in the Second Final Remand Redetermination for compliance with the court’s

remand order. Second Final Remand Redetermination at 8–11; Slip Op. 18-146 at

24–25. In the Final Remand Results, Commerce used Thai average unit value data

to value copper powder and copper iron clab. 13 Final Decision Memo. at 3. Finding

Commerce failed to directly address DSMC’s argument that the Thai AUV data was

an outlier and relied solely on a regulatory preference of valuing all inputs from the

same country, this court remanded for further explanation regarding Commerce’s

decision to use the Thai AUV data. Slip Op. 18-146 at 24–25; Second Final Remand

Redetermination at 9–11. Commerce’s decision to use AFA for all Bosun’s sales

mooted the surrogate country selection issue. First Remand Redetermination at 13;

see also Second Final Remand Redetermination at 9–10. In the Second Final Remand

Redetermination Commerce determined that it would no longer apply adverse

inferences to all Bosun’s sales; therefore, in the Second Final Remand




13 Copper powder and copper iron clab are factors of production for sawblades. See
Diamond Sawblades and Parts Thereof from [China]: Decision Memo. for Prelim.
Results of Antidumping Duty Admin. Rev.; 2014-2015 at 2, Doc. No. 3527262-01 (Dec.
5, 2016).
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Redetermination, Commerce needed to address DSMC’s aberrancy argument 14 to

comply with the court’s remand order. Slip Op. 18-146 at 24–25.

      Commerce explained that DSMC made mathematical errors when calculating

the Thai AUV data. Second Final Remand Redetermination at 10–11; see Pre-Prelim.

Letter at 3. Commerce noted that when correctly calculated, the Thai AUV data was

not aberrational.    Second Final Remand Redetermination at 10–11.               Given

Commerce’s preference to value all surrogate values in a single country and evidence

that the Thai AUV data is not aberrational, Commerce’s decision to use the Thai AUV

for copper powder and copper iron clab is reasonable. Id. at 11. No party challenges

the use of Thai AUV data before the court. Commerce complied with the court’s order

to address DSMC’s aberrancy argument of the Thai AUV and its determination is

supported by substantial evidence on the record.




14 In both its pre-preliminary determination comments and its case brief, DSMC
argued that Commerce should use South African, not Thai, import data to value
copper powder and copper iron clab because the Thai data was aberrational. Letter
from Wiley Rein LLP to Sec’y Com., re: Diamond Sawblades and parts thereof from
[China]: DSMC’s Pre-Prelim. Deter. Comments Regarding Surrogate Values at 2–4,
Doc. No. 3522843 (Nov. 15, 2016) (“Pre-Prelim. Letter”); Case Br. Diamond Sawblades
from [China] at 13–16, PD 373, CD 344 (Jan. 17, 2017). In its comments to the draft
remand results DSMC reiterated that the Thai AUV data was an outlier and the
South African AUV data should be used in its place. See Letter from Wiley Rein, re:
Diamond Sawblades and Parts Thereof from [China]: Comments on Draft Results of
Redetermination at 6-10, Doc. No. 4126645-01 (June 1, 2021) (“DSMC’s Draft
Comments”).
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                                CONCLUSION

      For the reasons stated, Commerce’s Final Remand Redetermination is

sustained. Judgment shall enter accordingly.


                                                  /s/ Claire R. Kelly
                                                  Claire R. Kelly, Judge

Dated:      October 27, 2021
            New York, New York
